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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER ALLEN SCOTT,      )              ORDER AND JUDGMENT
                              )
               Defendant.     )
______________________________)


            Pursuant to the memorandum opinion entered herein this

date,

            IT IS ORDERED that defendant’s motion “for leave to

amend and file a supplemental pleading on his prior 28 U.S.C.

2255 petition” (Filing No. 1226) is denied.

            DATED this 7th day of March, 2013.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
